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OPTIMA FOODS, INC.                                                                           t


                                                                                                  10091
        ARNOLVYN   UMANZOR
                                                                Employee ID: OMA001
                                                                    Social Sec #   xxx-xx-^BB
                      This Check       Year to Date
 Gross                  350.00         7,331.00                      Hours            Rate         Total
 Soc    Sec             -21.70          -454.52 Reau''., a r        40.00            8.00        320.00
 Medicare                -5.08          -106.32 Overi: ime           2.50           12.00         30.00
 State                   -8.77           -204.97
 Fed    Income          -37.57           -815.38
 SDI                     -0.60            -11.40




 Net Check:           $276.28                      Total            42.50                        350 00
 Check Date:         10/1/13                                   Pay Period Ending: Seo 28, 20.1.3
                                                                    Check Number: 10090
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OPTIMA FOODS, INC.                                                                                10181

        ARNOLVYN   UMANZOR                                          Employee ID: OMA001
                                                                     Social Sec n xxx-xx-
                       This Check       Year u» Date
 Gross                  320.00          8,373.00                          Hours       Rale          Total
 Sec   Sec              -19.84           -51^.43       Reaular           40.00       8.00         320.00
 Medicare                 -4.64          -121.50       Overtime                     12.00
 State                   -7.42           -231.96
 Fed    Income          -33.07           -928.24
 SDI                      -0.60           -13.20




 Net Check:            $254.43                         Total             40.00                   320.00

 Check Date:         10/22/13
                                                                    Pay Period Ending: Oct 19, 2013
                                                                         Check Number: 10181
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    Messer Enterprises, LLC                                                                                              Earnings Statement
    88 W Candler St
    Winder. GA 30680                                                                                         CheckDate:          January22,20f5
                                                                                                             Period Scjjinning: January 01,2015
                                                                                                             PeriodEnding:      January 15,2015 •
    AiRNALVIN VELAZQUEZ KftjIi^^SORcr                 30iss          Stores                  31559           Cheek Number                 1439480
                                                                     Department          000610      .       Net Pay    :                  518.34
                                                                                                             Check Amount.                 518.34
    Earnings      Rate   Hours   Amount YTDHrs      YTDAmt              Taxes                   status              Taxable    Amount     YTDAmt
    Reg   '•••:   7.50   88.03    660.23   168:93    1266.98            Medicare                                     f.60.23     9.57        18.37
    Total Gross Pay      ys.os    660.23   168.93    1266.98            Medicare - Additiona                    '    660.23-
                                                                        OASDI                                                   40:95 •      78.55
                                                                        Federal Income Tax     S/0       :           f 60.23    65:44       122.86.
                                                                        Georaia SITW           S/0                   660.23     25.95       48.69
                                                                        Total Tax Withholding                                  141.89      268.47
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   Messer Enterprises, LLC                                                                                       Earnings Statement
   88 W Candler Si
                                                                                                      Check Date: .     December 22,2014
  Winder, GA 30680
                                                                                                      Period BcginningDecembcr 01,2014
                                                                                                      Period Ending: December 15,2014
   ASNALViN VELAZQUEZ lirtflA&ZOftcr                 30185        Stores                31559         Check Number               1383350
                                                                  Department           000610         N'oi Pay                    485.59
                                                                                                      Check Amount                485.59
  Earnings      Rate lioijrs    Amount YTDHrs      VtDAmt            Taxes                   Status        Taxable Amount        YTDAmt
                                          361.21    2701.80          Medicare .                              615.23 .     8.92      41.49
  Reg            7.50   8203     615.23
                                                     159.41          Medicare • Additiona'                  "615.23
  OT                                      Mil.
  Total Gross Pay       82.03    615.23   375.38    2861.21          OASDI                                  615.23 '     38.15     177.40
                                                                     Federal Income Tax •-   S/0            015.23       59.32     270.09
                                                                     Georgia SITW -          S/ff.          615.23-      23.25     103.64
                                                                     Total Tax Withholding                              129.64    592.62
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                                 Department of the Treasury—Internal Revenue Service      (99)

      1040                       U.S. Individual Income Tax Return                                                                                 IRS Use Oniy—Do no: write or stap'e in this space

  For the yearJan. 1-Dec. 31, 2013,or other tax year beginning                                   . 2013, ending
  Yourfirsfname and initial                           :; Last name
  ARNOLViN U                                                   j VELASQU;
  it a joint return, spouse's first name and initial            Last name
                                                                                                                                                           Spouse's social security number


  Home address (number and street). Ifyou have a P.O. box. see instructions                                                          : Apt. no.                    Make sure the SSN(s) abo^e
                                                                                                                                                                      and on line 6c are correct.

  City, town or post office, state,andZIP code. If you havea foreign address, alsocomplete spacesbelow (see Instructions).                                       Presidential Election Campaign
                                                                                                                                                          Check here if you, or your spouse iffiling
                                                                                                                                                          jointly, wantS3to go to thisfund. Cheeking,
  Foreign country name                                                                 Foreign province/s!a!e/county          Foreign postal code         a box below will no! change your tax cr
                                                                                                                                                          raftina f ~|You ["'"jSpouse
                             1       (Single                                                             4|Xl Head of household (with qualifying person). (See instructions.)
 Filing Status                                                                                               — Ifthe qualifying person is a child but not your dependent, enter
                             2I ;Married filing jointly (even if only one had income)
                                                                                                                  this child's name here. •
 Check only                  31 JMarried filing separately. Enter spouse's SSN above
 one box.                             and full name here. •                                              *        Qualifying widow(er) with dependent child
                                                                                                                                                                      . Boxes checked           .
 Exemptions                  6a [Xj Yourself. If someone can claim you asa dependent, do not check box 6a                                                              I on 6a and 6b          1
                              b | J Spouse                                                           ••••                                                             j No. of children
                                c Dependents:                                                 (2) Dependent's
                                                                                                                                                  (4)^il cC\d under     on 6c who:
                                                                                                                                                  ago U^aV/ingfar       • lived with you
                            (1) First name                   Last name                     social security number
                                                                                                                                                                        • did not live with
                                                                                                                                                                        you due to divorce
                                                                                                                                                                        or separation
 If more than four                                                                                                                                                      (see instructions)
 dependents, see                                                                                                                                                        Dependents on 6c
 instructions and                                                                                                                                                       not entered above
 check here      •                                                                                                                                                      Add numbers on
                                d Total number of exemptions claimed                                                                                                    lines above     •

                            7     Wages, salaries, tips, etc. Attach Form(s) W-2                                             \\.
 Income
                            8a Taxable interest. Attach Schedule Bif required                                       <> . (u^y,>
                             b Tax-exempt interest. Do not include on line 8a
Attach Form(s)
W-2 here. Also
                            9a Ordinary dividends. Attach Schedule B ifrequired .
attach Forms                    b Qualified dividends                                                         ^ l 9t
W-2G and                10        Taxable refunds, credits, or offsets of state and local income taxes
1099-Riftax
was withheld.           11        Alimony received
                        12 Business income or (loss). Attach Schedule O^r§£:
                        13        Capital gain or (loss). Attach Schedule D iP?e(^i'N.If not required, check here                             • £_l
                        14        Other gains or (losses). Attach Form 47                                                                                   14
If you did not
get a W-2,              15a IRA distributions                           j15%U                                     b Taxable amount                         15b
see instructions.
                        16a Pensions and annuities
                                                                        L$s£                                      b Taxable amount                         16b

                        17 Rental real estate, royalties. r£tfrt&§£ips, Scorporations, trusts, etc. Attach Schedule E . .
                                                    ties. &flrwa$                                                                                           17

                        18 Farm income or (loss). Atta^rScx^dule F
                        19        Unemployment compensation^?
                        20a Social security benefit(("\} |_20aJ                                              | bTaxable amount                             20b

                        21 Other income. L^^vahd amount                                                                                                     21
                        22 Combine the amo1^ in the far right column for lines 7through 21. This is your total income                                 •; 22                     19,829.
                        23        Educator expenses                                                                 | 23
Adjusted                24       Certain business expenses of reservists, performing artists, and
Gross                            fee-basis government officials. Attach Form 2106 or 2106-EZ .                         24

Income                  25       Health savings account deduction. Attach Form 8889                                    25

                       26        Moving expenses. Attach Form 3903
                       27        Deductible part of self-employment tax. Attach Schedule SE . . .
                       28        Self-employed SEP, SIMPLE, and qualified plans                                        28

                       29        Self-employed health insurance deduction                                              29

                       30        Penalty on early withdrawal of savings                                                30

                       31a Alimony paid                b Recipient's SSN •                                             31a

                       32        IRA deduction                                                                         32

                       33        Student loan interest deduction                                                       33

                       34        Tuition and fees. Attach Form 8917                                                    34

                       35        Domestic production activities deduction. Attach Form 8903 . . .                      35

                       36        Add lines 23 through 35
                       37        Subtract line 36 from line 22. This is your adjusted gross Income                                                         37                  19, 829.
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                       FO100                    Form 1040 (2013)
VSA
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                                                             : ****** « j^^iiiJlMM^f
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  Form 1040(2013) ARNOLViN U VELASQUEZ                                                                                                                                                                  Page 2
                         38      Amount from line 37 (adjusted gross income)                                                                                 • • • • i 38                      19,829.
  Tax and
  Credits
 | Standard
                         39a Check
                                 if:
                                              | [You were born before January 2. 1949,
                                                  jSpouse was born before January 2 1949,
                                                                                                                  J Blind,
                                                                                                                  ~~j Blind.
                                                                                                                                 Total boxes

                                                                                                                                 checked           •   39a   q
   Deduction                  b If your spouse itemizes ona separate return oryou were a dual-status alien, check here                                   39b Dl
  for-                   40 Itemized deductions (from Schedule A) or your standarddeduction (see left margin)                                                          ! 40                     8,950
  • People v/ho                 Subtract line 40 from line 38                                                                                                          I 41                    10,879
                         41
  cneck any
  box on line            42      Exemptions. If line 38 is $150,000 or less, multiply $3,900 by the number on line 61Otherwise, see instructions                          42                   "7,800
  39a or 39b or
  who can be             43     Taxable income. Subtract line 42 from line 41. If line 42]smore than line 41, enter-0-                                                 ; 43                      3,079
  claimed as a
  dependent,            44      Tax (ttfttattucCons). Checkifany from:              |Form(s) 8814 bI IForm 4972 c^j                                                       44                          308
  see
                        45      Alternative minimum tax (see instructions). Attach Form 5251                                                                           i 45
  instructions.
                        46      Add lines 44 and 45                                                                                                                H      46                          308
  • All others:
  Single or             47      Foreign tax credit. Attach Form 1116 if required                                           47
  Married filing        48      Credit for child and dependent care expenses. Attach Form 2441                             48
  separately,
  S6.100                49      Education credits from Form 8863, line 19                                                  49

  Married filing        SO      Retirement savings contributions credit. Attach Form 8880                                  50
  jointlyor
  Qualifying            51      Child tax credit. Attach Schedule 8812, if required                                        51                             308.I
  widow(er).            52      Residential energy credits. Attach Form 5695                                               52
  812,200
  Head of               53      Other credits from Form: aj_ !3800 bQj8801 cj                                             i 53
  household.            54      Add lines 47 through 53. These a re your total credits                                                                           i-jV^4                               308
  S8.950
                        55      Subtract line 54 from line 46. If line 54 is more than line 46, enter -0

 Other                  56      Self-employment tax. Attach Schedule SE
 Taxes                  57     Unreported social security and Medicare tax from Form: aj^J4137 bj | 8919j£>
                        58     Additional tax on IRAs, other qualified retirement plans, etc. Attach Form 5329 if r'v^uirety
                        59a Household employment taxes from Schedule H                                                              <^>
                             b First-time homebuyer credit repayment. Attach Form 5405 if required . . /^^T^ii?
                        60 Taxes from: af~J Form 8959 b[_J Form 8960 i_ } c Instructions, enter code(s)
                        61 Add lines 55 through 60. This is your total tax                                           .o.ys/j)
 Payments               62 Federal income tax withheld from Forms W-2 and 1099 ..-^^^4
                       63      2013estimatedtax paymentsand amountapplied from 2012return ...
 If you have a '       64a Earned income credit (EIC)
 qualifying
! child, attach             b Nontaxable combat pay election                         | 64b|
, Schedule EIC.        65      Additional child tax credit. Attach Schedule 8812
                       66 American opportunity credit from Form 8863, (jne/3^
                       67 Reserved                                                      />Vw^                             JZ
                       68 Amount paid with request for extension tcXjte"                                               r~68
                       69      Excess social security and tier 1 RRTA tax'vjjhheld
                       70 Creditforfederal tax on fuels. Attach-^orm 4136
                       71 Creditsfrom Form: a| j2439 b[^'ese^TV) "j 8355 dQ
                       72 Add lines 62.63,64a. and 65 th^s^vrnese are your total payments ._.                                                                    •} 72 j                       5,612
Refund                 73 If line 72 is more than line 6T>^ubtract line 61 from line 72. This is the amount you overpaid^                                                                      5,612
                       74a Amount of line 73you/fta^ refunded to you. If Form 8888 is attached, check here . . .•                                                                              5,612
Direct deposit? • b Routing number^SftS&CXXXXX                                              •      c Type: fx Checking                     .Savings
See instructions.   • dAccount numbedjfeXXXXXXXXXXXXXXl
                       75      Amount of line73 youvvant applied to your 2014.estimated tax                               75

Amount                 76      Amount you owe. Subtract line 72 from line 61. For details on how to pay, see instructions                                      •
You Owe                77 Estimated tax penalty (see instructions)                                                     ! 77 j
                    Do you want to allow another person to discuss this return with the IRS (see instructions)?                                          j x 'Yes. Complete below.                         No
Third Party
Designee name
            Designee's
                    •Liberty                         Tax Service                         no. •
                                                                                                  Phone
                                                                                                   631        371-1515number(PIN)
                                                                                                                                                   Personal identification,
                                                                                                                                                      •
Sign                Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
                    belief,they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge
Here                    Your signature                                                   Date                  IYour occupation                                         Daytime phone number
Joint return?
See instructions
Keep a copy
for your records.   )   Spouse's signature. If a joint return, both must sign.
                                                                                         3/3/2014
                                                                                         Date
                                                                                                               i DELIVERY
                                                                                                               Spouse's occupation
                                                                                                                                                                         (516)
                                                                                                                                                                       iPIN, enter it
                                                                                                                                                                        here (see inst.)
                                                                                                                                                                                           725-8477
                                                                                                                                                                        Ifthe IRSsent youan Identity Protection
                                                                                                                                                                                           r                  •]
                                                                                Preparer's signature
                    Print/Type preparer's name                                                                     Date
                                                                                                                                              jCheck LJ i' PTIN
Paid                Gloria             Corzo                                                                       3/3/2014                    self-employed       P0198709J
Preparer            FirmSr'aml.. • asiSt£tX ..?«* Service                                                                                               Firm's EIN •<

Use Only            Firm's address y                                                                                                                   j Phone no.
                                                                                                                                                       • (631)     371-1515
                                                                                                FD1CO                                                                                   Form 1040 (2013)
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                                                   lBB3BEa^aBSBBUR§
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                                                                                                           1273

 SCHEDULE EIC                                                                                                                                                                              OMB No. 1545-0074
 (Form 1040A or 1040)
                                                                               Earned Income Credit
                                                                                  Qualifying Child Information                                                                                         13
                                           Complete and attachto Form 1040A or 1040 onlyIfyou have a qualifying child.                                                                    Attachment
 Departmenttit the Treasury
 InternalRevenue Service (99)
                                           Information about Schedule Etc (Form 1040A or1040) and Its Instnictions Isatwm.{rs.goWsche(tut*e!c                                             Sequence No. 43
                                                                                                                                                                                 Your soda) security number
 Name(s) shown on return

 ARNOLViN U VELASQUEZ                                                                                                                                                            XXX-XX-XXXX
                                            • See the instructions for Form 1040A, lines 38a and 38b. orForm 1040, lines 64a and64b. to makesurethat (a) you
 Before you begin:                              can take the EIC, and (b) you have a qualifying child.
                                            • Be surethe child's name on line 1 andsocial security number (SSN) on line2 agreewith the child s social secunty
                                                card. Otherwise, atthetime we process your return, wemay reduce ordisallow your EIC. If the name orSSNon
                                                the child's social security card isnot correct, call the Social Security Administration at 1-800-772-1213.
        • Ifyou take the EIC even though you are not eligible, you may not be allowed to take the credit for up to 10 years. See instructions for details.
 'mmhmm • It will take us longer to process your return and issue your refund ifyou do not rill in all lines that apply for each qualifying child.

 Qualifying Child Information                                                Child 1                                             Child 2                                                 Child 3

                                                         First name            Last name                       First name           Last name                         First name           Last name
          Child's name
          if you have more than three
          qualifyingchildren, you only have
          to list three to get the maximum
          credit.

 2        Child's SSN
          The child must have an SSN as
          defined in the instructions for Form
          1040A. lines 38a and 38b. or
          Form 1040. lines 64a and 64b,
          unless the child was bom and
          died in 2013. Ifyour child was born
          and died in 2013 and did not have
          an SSN, enter "Died" on this line
          and attach a copy of the child's
          birth certificate, death certificate, or
          hospital medical records.
 3 Child's year of birth                                Year                  2012                             Year         _s__^_^_                                Year
                                                       Ifbomafter 1994 andfoe chik) wasyounger than           Ifbom after 1994 andthechild wasyounger ton           Ifbornalter1994and thechild was younger than
                                                       you (or your spouse, iffiling jointly), sfojp fines 4a \yo\i (oryourspouse. iffSmg jointly), slap lines 4a   you (or yourspouse, df^ng jointly), skip hes4a
                                                       and 4b; gotoline 5.                                    land 4b; go to tine 5.                                and4b; gotoline 5.                       ^^
 4a Wasthechild under age 24atthe end
    of 2013, a student andyounger than                    PI Yes.                 D No.                             a        Yes.          O        No.                    G Yes-               • No.
                                                           Go to line 5.           Go to line 4b.                    Go to line 5.         Go to line 4b.                Go to line 5.        Go to line 4b.
    you(or your spouse, iffiling jointly)?


    b Was the child permanently and                       •        Yes.           •         No.                     [J Yes.               O No.                           G Yes.                G No.
      totally disabled during any                          Go to line 5. The child is not                           Go to line 5. The child is not                       Go to line S.       The child is not

      part of 2013?                                                             a qualifying child.                                       a qualifying child.                                a qualifying child.

      Child's relationship to you
      (forexample, son, daughter,
      grandchild, niece, nephew,
      foster chHd. etc)                                    Daughter
6     Number of months child lived
      with you in the United States
      during 2013
      • If the child lived with you for
              more than half of 2013 but
              less than 7 months, enter "7.
      •       If the child was bom or died
              in 2013 and your home was
             the child's home for more than                                            12       months                                                 months                                  months
             half the time he or she was              Do not enter more than 12 months.                       Do not enter more than 12 months.                     Do not enter more than 12 months.

             alive during 2013. enter "12."
For Paperwork Reduction Act Notice, see your tax return instructions.                                                             FD121                        Schedule EIC (Form 1040A or 1040) 2013
VSA
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                                                                                                                                                         2013
 EIC
 .
     Qualification— Checklist (Schedule EIC)                               ^_____                                      (Social Security Number
 JNomo
 JARNOLViN U VELASQUSZ
 Earned Income Status
 Earned Income Credit:       [           2» 8 o 4 .
 This return qualifies for EIC.


  Due Diligence Information
                                          .                                                                            yes m            NO j
  Did you comply with the knowledge requirements?                                 ••••• •
  Check 'NO' if the taxpayer has been disqualified from claiming EIC. IRS rejectcode 060b.
  • You must not know or have reason to know that any information used to determine the taxpayer's eligibility for, and the
    amount of, the EIC is incorrect.
  • You may not ignore implications of information furnished to or known by you, and you must make reasonable inqu.r.es
     if the infomation furnished appears to be incorrect, inconsistent, or incomplete.
  Person Providing Information
    [x"l Taxpayer on this return
     "J"| Spouse on this return
       J Taxpayer and spouse on this return
    Q Person other than taxpayer or spouse.                 Name: ARNOLViN UVELASQUEZ
 Date: 2/22/2014 How did you obtain this information:                    ASKED THE EIC WQRSHEET QUESTIONS
                                                                          For example, "Asked the EIC worksheet questions."
 All Filers
  1.Do the taxpayer, and spouse if married filing joint or claiming spousal exemption, and all
     qualifying children have valid SSN for work?                                                                              I—I               '—
  2. Could the taxpayer, or spouse if married filing joint, be the qualifying child of another person? .... YES Q NO [x]
  3. Was the taxoaver either-       a US citizen or resident alien for the entire year, or
  a.was  me taxpayer eitner.        fiI|.ng ajolnt return and the spouse ,s aus citizen or resident alien? . . YES [x] NO [j
 Form 8862 Requirements
  4.Has your EIC been reduced or disallowed on previous returns for any reason other than a math or                    YES n           NO [xl
     „i :„~l error?
     clerical —m»9                                                                                                             I   1             I   1

  5.v/as the only reason your EIC was reduced ordisallowed in the earlier year because It was
   • Was the
                                                                                                                       YES PI NO PI
     determined
     determi    that a child listed on Schedule EIC was notyour qualifying child?                                              I—I               i—'
                 Form 8862 is not required.

Taxpayers With Children
    Number of qualifying children from Schedule EIC:               fT|

                                                                                  Child 1
6a. Did your qualifying son, daughter, adopted child, grandchild,
    stepchild, brother, sister, niece, nephew, or eligible foster child
    live with the taxpayer in the United States (not including US
   Possessions) for over half the year?                                       YES [x] NO [
 b.Select 'Yes' if the child is not married. If the child is married, is
   the taxpayer claiming the child as a dependent and the child is
   not filing a joint return (or is filing itonly as a claim for              Y£S rrri NQ i—i
   refund).                                                                        I—I       I—I
 c.If child is a foster child, was the child placed In the home by an
   authorized agency? (Skip this question if the child is NOT a                    i—i NQj—i
    FOSTER CHILD.)                                                                 I—1       '—'
 7. Can another person (other than your spouse who you are filing
    jointly with) claim your child as a qualifying child for the EIC                         —
   credit?                                                                    YESQ NO[x]
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                                                                                                                                   2013
   EIC Due Diligence Questions and Answers (Schedule EiC)                                                        Social Security Number   j
   Name

   [ARNOLViN U VELASQUEZ
   This worksheet can be used to provide additional information to the IRS to support the Earned Income Credit.
   We strongly encourage you to include appropriate details in each answer. Simple "Yes" ,"No" or "Unknown"
   answe™ will not be enough to cover your Due Diligence requirement. Complete sentences are required.
   The Questions that come up automatically are just a guideline.You may need to ask and
   add more questions.
   Tfao^^re^tonTtype
   To add a question: type the
                           the question
                               question in
                                        in the
                                           the left
                                               left box,
                                                    box, type
                                                         type the
                                                              the answer
                                                                  answer inin the
                                                                              the right
                                                                                  right box.
                                                                                        box.     EIC Paid Prepare Toolkit <?> tRS.gpv
   0 Documentation of Due Diligence Qand Ais complete. All necessary additional questions have been asked and documented below
                       Due Diligence Question                                                    Due Diligence Explanation
Shat is the name of the person (s)~ who cared for the child                 [THE OTHBR PARENT
while you worked?



What is the relationship of the person(s) who cared for the JGIRLFR1END
child while you worked?                                                     \


When did you last see the child's other parent?                                  SAW YESTERDAY




vvhere did you last see the child's other parent?                           UN HER HOUSE




£hat is the frequencey~o7 contact thaTThe- "child has with "jSHE SAW THE CHILD EVERY DAY
the other parent?                                                           j




  i-] Check this box to carry the above information to the IRS Preparer Notes.
